Case 24-80991               Doc 21-1           Filed 08/01/24 Entered 08/01/24 15:54:52                                   Desc Proposed
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